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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA


FIREARMS REGULATORY
ACCOUNTABILITY COALITION, INC., and
FRANKLIN ARMORY, INC.,

       Plaintiffs,
                                                        Case No. 1:23-cv-00003-DLH
  v.

MERRICK GARLAND, in his official
capacity as Attorney General of the United States, et
al.,

     Defendants.
______________________________________/

                      DEFENDANTS’ REPLY IN SUPPORT OF
             MOTION TO DISMISS UNDER RULES 12(b)(1) AND 12(b)(3) OR,
                  IN THE ALTERNATIVE, TO TRANSFER VENUE
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                                         INTRODUCTION

          This action against the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”)

involves two weapons manufactured by Plaintiff Franklin Armory, Inc. (“Franklin”), which produces

the FAI-15 Antithesis short-barreled rifle (“Antithesis”), and the Reformation short-barreled shotgun

(“Reformation”) and is located in Nevada.          Franklin and its co-plaintiff Firearms Regulatory

Accountability Coalition (“FRAC”) (1) challenge ATF’s classification of the Antithesis, and (2)

contend that ATF has unreasonably and arbitrarily delayed formulating a process that would allow

Franklin to request authorization for the sale, delivery, and interstate transportation of the

Reformation. Defendants’ motion to dismiss demonstrates that FRAC lacks standing and that this

district is not a proper venue for Plaintiffs’ Nevada-centered claims.

          Plaintiffs’ combined opposition and motion for summary judgment 1 only confirms that

dismissal or transfer is warranted. In the main, Plaintiffs largely fail to engage with the relevant

jurisdictional issues. Instead, Plaintiffs contend that Defendants’ motion was offered for purposes of

delay.    This contention is false. Defendants’ motion addresses significant threshold issues of

jurisdiction and venue and was filed to expedite consideration of these issues while, on a parallel track,

ATF considers the relief requested regarding the Reformation. Rather than moving to stay or

withholding jurisdictional arguments until ATF’s consideration was complete, Defendants raised these

threshold issues at the outset of the case to permit the Court to assess necessary jurisdictional issues

while ATF continues to assess the Reformation. ATF respectfully requested that the Court consider

expediting its review of this motion. See Defs.’ Mot. Dismiss or Transfer at 3 n.1, ECF No. 9. In any

event, this Court lacks jurisdiction over FRAC’s claims because FRAC lacks standing and venue is

improper here. And even if venue were proper, the Court should transfer this case.



1
 In accordance with Local Rule 7.1(A)(1), Defendants plan to respond to Plaintiffs’ April 14, 2023
motion for summary judgment by May 5, 2023.
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                                                  ARGUMENT

I.       FRAC Lacks Associational Standing.

             FRAC lacks standing, as Defendants’ opening motion shows. Plaintiffs’ arguments to the

     contrary are misplaced. Plaintiffs try to avoid application of the appropriate test and seek to clarify

     various aspects of their organizational structure, but cannot manufacture standing to establish FRAC’s

     status as a Plaintiff alongside Franklin.

             A.      Plaintiffs Cannot Evade H unt ’s Indicia-of-Membership Test, Under Which
                     FRAC Does Not Qualify as a Membership Organization.

             In their opening motion, Defendants argued that because FRAC did not possess any of the

     required indicia of membership, it was not the sort of membership organization that could obtain

     associational standing.    In response, Plaintiffs argue that FRAC is a traditional membership

     organization to which the indicia-of-membership test articulated in Hunt v. Wash. State Apple Advert.

     Comm’n, 432 U.S. 333, 344 (1977), should not apply. This argument lacks merit. Although Plaintiffs

     selectively quote AARP v. U.S. Equal Emp. Opportunity Comm’n for the proposition that “[m]ost cases

     skip over the indicia of membership inquiry where ‘membership’ is asserted,” they omit the Court’s

     cautions that “it is equally clear that a mere assertion that an individual is a ‘member’ of an organization

     is not sufficient to establish membership[,]” and that “[t]here appears to be a gap in the associational

     standing case law about when or how the indicia of membership inquiry should be applied.” 226 F.

     Supp. 3d 7, 16 (D.D.C. 2016). See Pls.’ Opp’n & Mot. Summ. J. (“Opp’n”) at 11-12, ECF No 11.

     Contrary to Plaintiffs suggestion, Hunt is controlling law on the required proof for associational

     standing and provides the correct test for membership. See, e.g., Mo. Prot. & Advocacy Servs., Inc. v.

     Carnahan, 499 F.3d 803, 810 (8th Cir. 2007) (applying Hunt’s indicia of membership); Grp. Health Plan,

     Inc. v. Philip Morris, Inc., 86 F. Supp. 2d 912, 918 (D. Minn. 2000) (same). 2


     2
       Plaintiffs also cite a new decision, Pharm. Rsch. & Mfrs. of Am. v. Williams, 2023 WL 2750822, at *11
     (8th Cir. Apr. 3, 2023), in support of their argument that the indicia-of-membership test should not
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        Under the applicable test, FRAC does not qualify as a membership organization for purposes

of associational standing. While the declaration attached to Plaintiffs’ opposition speaks to two of the

required indicia of membership, see Hunt, 432 U.S. at 344-45 (considering whether purported members

participated in (a) electing the entity’s leadership and (b) serving in the entity’s leadership or influencing

its direction), that declaration fails to say anything about whether FRAC’s members finance the costs

of this lawsuit as considered by the Hunt court. Compare id. (finding associational standing where

“[members] alone finance [the organization’s] activities, including the costs of this lawsuit) (emphasis added),

with White Decl. ¶ 20, ECF No. 11-2. 3 Cf. Minn. Pub. Int. Rsch. Grp. (“MPIRG”) v. Selective Serv. Sys.,

557 F. Supp. 925, 933 (D. Minn. 1983) (rejecting associational standing under Hunt’s second prong

even where organization claiming to advocate on behalf of students was “primarily but not wholly

funded by students.”). Lacking such a showing, FRAC cannot be deemed a membership association

under Hunt and therefore cannot have associational standing in the first instance.

        B.       The Interests Advanced by Plaintiffs Are Particularized to Franklin and Not
                 Germane to FRAC’s Organizational Purpose.

        Even if FRAC qualifies as a membership organization, it lacks standing. While FRAC need

not show that each of its members must have been directly injured by a challenged action, Pls.’ Opp’n

at 17, associational standing requires that “(b) the interests [plaintiff] seeks to protect are germane to

the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Associated Gen. Contractors of N.D. v. Otter Tail Power

Co., 611 F.2d 684, 690-91 (8th Cir. 1979) (quoting Hunt, 432 U.S. at 343) (noting that “each of the


apply to FRAC. See Pls.’ Opp’n at 12. But the defendants in Williams challenged standing under the
“third prong” of Hunt alone, not under the indicia framework. See 2023 WL 2750822, at *11.
3
  Indeed, FRAC’s webpage includes a call for readers to “consider donating through our website to
help us in our mission,” demonstrating that FRAC’s activities and lawsuits are not entirely funded by
its members (i.e., corporate entities like Franklin), but rather by donations from the unaffiliated general
public. See Travis R. White, Brace Litigation Filed in North Dakota Federal Court, Firearms Regulatory
Accountability Coalition, Inc. (Feb. 9, 2023), https://perma.cc/JJ3K-TKZE?type=image.
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three requirements must be met”). These latter two prongs are where FRAC’s claim to standing

ultimately fails, because Franklin, not FRAC, is Defendants’ only “natural adversary” for these claims.

United Food & Commercial Workers Union Local 751 v. Brown Group, Inc., 517 U.S. 544, 555-56 (1996).

        As to germaneness, Plaintiffs first assert that FRAC exists “to improve business conditions

for the firearms industry by ensuring the industry receives fair and consistent treatment from firearms

regulatory agencies,” Compl. ¶ 23, and argue that this action will further FRAC’s goal simply because

it is brought under the Administrative Procedure Act (“APA”). See Pls.’ Opp’n at 15. But Plaintiffs’

attenuated argument is refuted by the contents of their own Complaint, which includes a prayer for

relief that would run solely to Franklin. See Compl. Prayer for Relief ¶¶ A-E (requesting relief running

to Franklin’s products, which Plaintiffs claim are “unique” within the industry (See, e.g., id. ¶¶ 4, 11-12,

129)). Even if Plaintiffs prevail on the merits and obtain the relief requested, that relief will not ensure

consistent treatment across the industry as articulated by FRAC’s mission because Plaintiffs are wrong

on the law governing ATF classifications. Under 27 C.F.R. § 478.92, ATF classifications apply only

to the firearm configuration submitted to ATF for testing.            See 27 C.F.R. § 478.92(c) (“each

classification is limited to the firearm in the configuration submitted.”).

        Next, Plaintiffs assert that because Franklin is part of the firearms industry, this case is germane

to “FRAC’s purpose [of] ‘protecting the firearms industry from government abuse.’” Pls.’ Opp’n at

17 (quoting Compl. ¶ 46). Again, this argument fails because it would impermissibly collapse the first

prong of Hunt—that at least one member have standing—into the second. See Associated Gen.

Contractors, 611 F.2d at 690-91 (considering each prong of the Hunt test independently). The mere fact

that the interests advanced in this lawsuit involve a member of industry is not enough; the Eighth

Circuit requires a closer connection between organizational purpose and litigation interests. In

Associated Gen. Contractors, for example, a trade association whose purpose concerned “improv[ing]

labor conditions, eliminat[ing] unfair or unethical practices [and] promot[ing] fair competition” could

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not invoke its members’ work on a project covered by a labor agreement to connect the association’s

purpose to the interests implicated by the litigation. See 611 F.2d at 690-91. See also MPIRG, 557 F.

Supp. at 932-34 (“interest in availability of financial aid without allegedly unconstitutional restrictions”

not germane to purpose even though the organization was student-directed, “many of the issues [it]

has been involved with relate to student concerns and [] it is an organization primarily but not wholly

funded by students.”).

        Here, the connection between the individualized claims advanced in this lawsuit and FRAC’s

purpose of protecting the firearms industry relies on Plaintiffs’ assertion that classification of

Franklin’s weapons “adversely impacts the industry writ large.” Pls.’ Opp’n at 15-16; White Decl.

¶ 33. But this connection fails because ATF’s classifications are non-precedential and apply solely to

the particular firearm for which classification is sought, as noted above. See 27 C.F.R. § 478.92. This

distinguishes the claims asserted here from the cases cited by Plaintiffs, where organizational plaintiffs

challenged agency rules or statutes of general applicability, as opposed to the type of non-precedential

actions particularized to the level of a single firearm at issue here. 4 Here, by contrast, Plaintiffs only

challenge ATF’s classification of Franklin’s unique firearm (and seek to expedite the decision on

another), rather than the federal firearms laws or the classification process writ large. A victory for

Plaintiffs in this case would necessarily accrue to Franklin, rather than furthering FRAC’s alleged

broader organizational purposes.

        C.      The Claims Asserted Require the Participation of FRAC’s Individual Members.

        FRAC’s associational standing should also be rejected because the claims asserted by Plaintiffs

require the participation of FRAC’s individual members, both because individualized proof would be


4
 Cf. Ark. Med. Soc’y v. Reynolds, 6 F.3d 519 (8th Cir. 1993) (challenging rule cutting reimbursement to
noninstitutional Medicaid providers statewide); Williams, 2023 WL 2750822 (challenging
constitutionality of state statute); Nat’l Org. of Veterans’ Advocs. v. Sec’y of Veterans Affs., 981 F.3d 1360
(Fed. Cir. 2020) (challenging interpretive rule for disability claims); Am. Trucking Ass’ns, Inc. v. FMCSA,
724 F.3d 243 (D.C. Cir. 2013) (challenging legislative rule setting daily driving limits across industry).
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required to grant Plaintiffs’ motion for summary judgment as currently presented, and because the

claims raise obvious potential conflicts which make this case ill-suited to associational representation.

        First, and contrary to Plaintiffs’ suggestion, there is no per se exception to the third prong of

the Hunt test simply because declaratory and injunctive relief is sought; the Court must consider both

the relief requested and the nature of the claims asserted to determine whether either would be ill-

suited to group representation. See Defs.’ Mot. Dismiss or Transfer at 23-24; Nat’l Wrestling Coaches

Ass’n v. U.S. Dep’t of Educ., 263 F. Supp. 2d 82, 124 (D.D.C. 2003), aff’d, 366 F.3d 930 (D.C. Cir. 2004)

(Rejecting associational standing in an APA action for declaratory and injunctive relief where “the

presence of [members] in this action is required to both assert and protect their interests.”). Even the

portion of Hunt quoted by Plaintiffs in support of their argument simply provides that a case may be

“properly resolved in a group context” when neither the relief requested nor the claim asserted “requires

individualized proof.” Hunt, 432 U.S.at 344. A request for equitable relief, standing alone, is not

dispositive of whether participation of an association’s individual members is required.

              1. The Merits of Plaintiffs’ Claims Require Proof Individualized to Franklin.

        Plaintiffs again attempt to manufacture a per se rule where none exists on the issue of

individualized proof, arguing that because they have brought an APA action, individualized proof is

unnecessary for their claims. See Pls.’ Opp’n at 18-19. But see Nat’l Wrestling Coaches Ass’n, 263 F. Supp.

2d at 124 (rejecting associational standing in APA case due to need for member participation); Terre

Du Lac Ass’n v. Terre Du Lac, Inc., 772 F.2d 467, 471 (8th Cir. 1985) (rejecting “narrow reading” of

Hunt’s individualized proof element). Moreover, Plaintiffs’ argument is contradicted by their own

motion for summary judgment, which asks the court to rely on individualized proof in the form of

the representations of Plaintiffs’ counsel—rather than an administrative record yet to be compiled by

ATF—to resolve the merits of case. See Pls.’ Opp’n & Mot. Summ. J. at 28-40, ECF Nos 12 and 13.

        Plaintiffs are correct that judicial review in an APA action is properly “limited to the


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administrative record presented by the agency,” and that the Court’s review should be so limited here.

Id. at 19; Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985) (the APA provides for review “based

on the record the agency presents to the reviewing court” (emphasis added) (citation omitted)). But

because Plaintiffs have prematurely moved for summary judgment without an administrative record,

they have necessarily asked the Court to resolve their claims by resorting to individualized proof alone.

Plaintiffs’ effort to escape the requirements of associational standing by pointing to the fact that APA

review is limited to an administrative record, while simultaneously urging the Court to resolve this

case without such an administrative record, is inherently contradictory.

        In any event, the need for individualized proof pervades the merits of Plaintiffs’ claims because

the administrative record will be highly individualized to Franklin’s weapons. Plaintiffs cite to a single

out-of-circuit decision stating, without analysis, that “the relief sought under the [APA] does not

require the participation of individual members.” Pls. Opp’n at 19 (quoting Food & Water Watch v.

FERC, 28 F.4th 277, 283 (D.C. Cir. 2022)). But Plaintiffs do not address that Eighth Circuit has

squarely rejected such a “narrow reading” of Hunt and repudiated plaintiffs’ theory that “participation

of individual members” refers solely to participation in the form of witness testimony. Terre Du Lac

Ass’n, 772 F.2d at 471 (quoting Hunt, 432 U.S. at 344). Under Terre Du Lac Ass’n, the individualized

substance of the proof is what matters—not its form. And individualized proof pervades the substance

of this action because the decisions Plaintiffs’ challenge were based on extensive analysis of the specific

objective design features, method of operation, and intended use of the individual firearms provided

by Franklin to ATF for testing. See, e.g., Compl. Ex. F at 2-5. This is precisely the kind of

“individualized proof” that precludes associational standing.

              2. The Potential for Membership Conflict is Obvious.

        Plaintiffs attempt to minimize the potential for conflicts of interests between FRAC’s

members in two ways: first, by pointing to a vote of FRAC’s board wherein “seven of FRAC’s eight


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      directors voted in favor of the lawsuit, and the eighth (Franklin’s representative) abstained,” and

      second, by arguing the conflicting economic interests implicated by Plaintiffs’ claims are not the sort

      that courts consider when deciding associational standing. Pls.’ Opp’n at 21, n.8. Neither argument

      should persuade. Although Courts often treat a unanimous membership vote as some evidence that

      the association spoke for its members when initiating the suit, ultimately “[i]t is for the court, not the

      members of the association, to determine whether their interests require individual representation.”

      Associated Gen. Contractors, 611 F.2d at 691. And here, the vote’s demonstrative value is diluted by the

      fact that it included only FRAC’s directors, rather than its members, see White Decl. ¶ 31.

              As to the nature of the potential conflicts at issue, Plaintiffs argue that “a win in this suit would

      advance [members’] interests by forcing their governing regulatory agency to comply with the law and

      by allowing them the same regulatory landscape Franklin seeks to gain.” Pls.’ Opp’n at 21. But again,

      ATF classifications are non-precedential, and as such, the relief requested in this case would run to

      Franklin alone. See 27 C.F.R. § 478.92; supra part I.B. And as the cases cited in Defendants’ motion

      demonstrate, Courts routinely consider members’ potential economic conflicts when deciding

      whether a case is appropriate for associational standing. Here, the economic interests of the industry

      are central to FRAC’s purpose. See Compl. ¶ 23 (FRAC exists “to improve business conditions for

      the firearms industry”). Excluding economic conflicts would effectively exempt trade associations

      like FRAC from this prong of the Hunt test entirely, contrary to precedent. See Associated Gen.

      Contractors, 611 F.2d at 691 (considering conflicting economic interests of trade association members);

      Md. Highways Contractors Ass’n, Inc. v. Maryland, 933 F.2d 1246, 1253 (4th Cir. 1991) (same).

II.       Plaintiffs’ Complaint Should Be Dismissed for Lack of Venue or Transferred.

              Because FRAC lacks associational standing and must be dismissed as a Plaintiff, this case must

      be dismissed or transferred for lack of venue. See Compl. ¶ 35 (alleging venue based on FRAC’s



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       residency alone). But dismissal or transfer is also independently warranted because Plaintiffs fail to

       carry their burden of proving venue under 28 U.S.C. § 1391(e)(1)(C).

               Plaintiffs admit that through its agents, FRAC declared its principal place of business to lie

       outside of this district in disclosures filed with a coordinate branch of government as required by

       federal law. See Defs.’ Exs. 2 and 3, ECF Nos. 9-2 and 9-3; 2 U.S.C. § 1603(b)(2) (requiring such

       reports to “contain[,]” inter alia, the “principal place of business of the registrant’s client.”); Pls.’ Opp’n

       at 24. Plaintiffs now attempt to minimize these disclosures by characterizing them as “outdated” and

       “not filed by FRAC itself,” and by equating these mandatory reports to a mere listing on a state

       website. Id. at 24-25. The fact that these disclosures “were not filed by FRAC itself” but rather by

       counsel, id. at 24, is immaterial. Restatement (Third) of the Law Governing Lawyers 2 Intro. (2000)

       (“A lawyer is an agent, to whom clients entrust matters, property, and information….”); id. § 26 Com.

       B (”Attributing the acts of lawyers to their clients is warranted by the fact that, in an important sense,

       they really are acts authorized by the principal.”). And unlike a listing on a state website, the fact that

       FRAC appears to have been represented by counsel in connection with its disclosures implies that the

       decision to list an address outside of North Dakota was purposeful. As for Plaintiff’s characterization

       that the filings were “outdated,” FRAC’s Washington location was reaffirmed by FRAC’s

       representatives as recently as January 20, 2023—after this suit was filed—in a series of fifteen additional

       filings, none of which corrected FRAC’s “outdated” place of business.                    See U.S House of

       Representatives, Lobbying Disclosures, https://perma.cc/Y7PG-7CZ8. Only now, over two years

       after purportedly transitioning its office to North Dakota and after venue was challenged, has FRAC

       altered its disclosures to provide any indication of North Dakota residency. See Pls.’ Opp’n Ex. 6.

III.       Comparative Local Interest Warrants Transfer Even if Venue Is Proper in This District.

               Even if the Court were to find venue proper in this district, it should still transfer this case in

       the interests of justice under 28 U.S.C. § 1404. See Nat’l Distillers & Chem. Corp. v. Dep’t of Energy, 487

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F. Supp. 34, 36-37 (D. Del. 1980) (dismissing where venue was technically proper because plaintiffs

appeared to have improperly joined parties for purpose of manufacturing venue). Plaintiffs’ claim to

venue in this action rests entirely on the residence of a single individual, Travis White—CEO of an

organization which had not even been founded at the time Franklin submitted the firearms at issue to

ATF for classification. Compare White Decl. ¶ 14, with Compl. ¶ 78, 138. Although Plaintiffs claim

that convenience of witnesses should be irrelevant to this Court’s transfer decision because review is

confined to an administrative record, see Pls.’ Opp’n at 27, this argument is again undermined because

Plaintiffs have moved for consideration of the merits without any administrative record. See supra part

I.C.1. Finally, transfer is further warranted due to the importance of the “local interest in having

localized controversies at home.” Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 509 (1947). See, e.g., Boston

Telecom. Grp., Inc. v. Wood, 588 F.3d 1201, 1211 (9th Cir. 2009) (considering, inter alia, the degree of

“local interest in the lawsuit” and “the costs of resolving a dispute unrelated to a particular forum”

(citation omitted)). This case concerns the firearms of a Nevada gunmaker, regulated by a federal

agency in Washington, D.C. The challenged decisions were all made outside of this district, the

impacts of a decision in this case will be felt in the district where Franklin resides, and Plaintiffs identify

no local interest favoring venue in North Dakota. Cf. Nat’l Wildlife Fed’n v. Harvey, 437 F.Supp.2d 42,

49-50 (D.D.C. 2006) (transfer appropriate where, inter alia, agency action had direct impact on

transferee district, and the disputed decisions were not made in transferor district).

                                             CONCLUSION

        The Court should dismiss the Complaint, or, in the alternative, transfer to a proper venue.


Dated: April 28, 2023                                      Respectfully Submitted,




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